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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAI‘I



  STATE OF HAWAI‘I, et al.
                          Plaintiffs,


        v.

                                                   Civil No. 17-00050-DKW-KJM
 DONALD J. TRUMP, in his official capacity as
 President of the United States; U.S.
 DEPARTMENT OF HOMELAND
 SECURITY; JOHN F. KELLY, in his official
 capacity as Secretary of Homeland Security;
 U.S. DEPARTMENT OF STATE; REX
 TILLERSON, in his official capacity as
 Secretary of State; and the UNITED STATES
 OF AMERICA,
                          Defendants.


                          CERTIFICATE OF SERVICE

       I hereby certify that, on the dates and by the methods of service noted below,

 a true and correct copy of Plaintiffs’ First Amended Complaint was served on the

 following at their last known addresses:

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       DATED: Honolulu, Hawai‘i, February 13, 2017.



                                       /s/ Neal K. Katyal

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